               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                               Plaintiff,          Case No. 22-CR-45-JPS

 v.

 YUE LIU,
                                                                  ORDER
                               Defendant.


       On February 11, 2022, the Government returned an Information

charging Defendant with violating 18 U.S.C. §§ 1343, 1957. ECF No. 1. That

same day, the parties filed a plea agreement indicating that Defendant

agreed to plead guilty to both counts in the Information. ECF No. 2.

Defendant subsequently filed a waiver of indictment. ECF No. 7.

       The parties appeared before Magistrate Judge Nancy Joseph on

March 9, 2022 to conduct a plea colloquy pursuant to Federal Rule of

Criminal Procedure 11. ECF No. 5. Defendant entered a plea of guilty as to

Counts One and Two of the Information. ECF No. 8 at 1. After cautioning

and examining Defendant under oath concerning each of the subjects

mentioned in Rule 11, Magistrate Judge Joseph determined that the guilty

plea was knowing and voluntary, and that the offenses charged were

supported by an independent factual basis containing each of the essential

elements of the offense. Id.

       Magistrate Judge Joseph filed a Report and Recommendation with

this Court, recommending that: (1) Defendant’s plea of guilty be accepted;

(2) a presentence investigation report be prepared; and (3) Defendant be



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adjudicated guilty and have a sentence imposed accordingly. Id. Pursuant

to General Local Rule 72(c), 28 U.S.C. § 636(b)(1)(B), and Federal Rule of

Criminal Procedure 59(b), the parties were advised that written objections

to that recommendation, or any part thereof, could be filed within fourteen

days of the date of service of the recommendation. Id. at 1–2. To date, no

party has filed such an objection. The Court has considered Magistrate

Judge Joseph’s recommendation and, having received no objection thereto,

will adopt it.

       On March 30, 2022, counsel for Defendant filed a letter requesting

that the sentencing hearing scheduled for June 9, 2022 at 9:30 a.m. via

videoconference instead occur in-person. ECF No. 11. The Government

does not oppose this request. The Court will grant Defendant’s request; the

hearing will occur in-person.

       Accordingly,

       IT IS ORDERED that Magistrate Judge Nancy Joseph’s Report and

Recommendation, ECF No. 8, be and the same is hereby ADOPTED; and

       IT IS FURTHER ORDERED that this matter be and the same is

hereby scheduled for an in-person sentencing hearing on June 9, 2022 at

9:30 a.m. in Courtroom 425, 517 East Wisconsin Avenue, Milwaukee,

Wisconsin, 53202.

       Dated at Milwaukee, Wisconsin, this 5th day of April, 2022.

                                  BY THE COURT:



                                  ____________________________________
                                  J. P. Stadtmueller
                                  U.S. District Judge




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